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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION
 VALUTA CORPORATION, INC., and                   §
 PAYAN’S FUEL CENTER, INC.,                      §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §
                                                 §
 FINANCIAL CRIMES                                §
 ENFORCEMENT NETWORK;                            §
 ANDREA GACKI, in her official                   §
 capacity as Director of the Financial           §     No. 3:25-CV-00191-LS
 Crimes Enforcement Network; U.S.                §
 DEPARTMENT OF THE TREASURY;                     §
 SCOTT BESSENT, in his official                  §
 capacity as Secretary of the Treasury;          §
 and PAM BONDI, in her official                  §
 capacity as the Attorney General of the         §
 United States,                                  §
                                                 §
      Defendants.                                §

                                             ORDER

         Plaintiffs have filed a motion for a temporary restraining order, and Defendants have

notified the Court that they oppose said motion. Defendants shall file any response in opposition

to Plaintiffs’ motion by June 9, 2025.

         The motion is set for hearing on June 11, 2025, at 10:00 a.m. in District Courtroom, Room

622, on the sixth floor of the United States Courthouse, 525 Magoffin Avenue, El Paso, Texas.

         SO ORDERED.

         SIGNED and ENTERED on June 4, 2025.


                                                     _________________________________
                                                     LEON SCHYDLOWER
                                                     UNITED STATES DISTRICT JUDGE
